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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                            Case No. 2:03-cr-114-FTM-29DNF

GERARD JULES


                                OPINION AND ORDER

      This matter is before the Court on defendant Gerard Jules’ pro
se Motion for Modification of Sentence Pursuant to 18 U.S.C. §
3582(c)(2) (Doc. #67) filed on March 3, 2008.              Defendant seeks a
reduction in his sentence in light of Amendment 706 to the United
States Sentencing Guidelines, which reduces the base offense level
for cocaine base offenses by two levels.
                                          I.
      Title 18 U.S.C.       §    3582(c) gives the court discretionary
authority   to    reduce    the    term    of    imprisonment   portion   of   a
defendant’s      sentence   under     certain      circumstances.     Section
3582(c)(2) provides in pertinent part:
      (c) The court may not modify a term of imprisonment once
      it has been imposed except that -
      . . .
      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2).           The relevant United States Sentencing
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Guidelines (U.S.S.G.) policy statement is U.S.S.G. § 1B1.10, as

amended by Amendment 713 and effective March 3, 2008.

       Reading 18 U.S.C. § 3582(c)(2) in conjunction with U.S.S.G. §

1B1.10(a)(1), the general requirements a defendant must establish

to be eligible for a reduction of the term of imprisonment are: (1)

Defendant had been sentenced to a term of imprisonment; (2) the

term of imprisonment was based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to

28 U.S.C. § 994(o); (3) defendant is still serving the term of

imprisonment; and (4) the amendment to the Sentencing Guidelines

has been made retroactive by being listed in U.S.S.G. § 1B1.10(c)1.

Even    if   generally     eligible      for     a   reduction       in    the   term    of

imprisonment, a defendant must show that a reduction is consistent

with the policy statement in U.S.S.G. § 1B1.10.                      A reduction of a

term    of   imprisonment       is    not    consistent       with    the    Sentencing

Guidelines policy statement, and therefore is not authorized by §

3582(c)(2), if none of the retroactive amendments is applicable to

defendant,     U.S.S.G.     §   1B1.10(a)(2)(A),         or    if    the    retroactive

amendment     does   not    have      the    effect    of     lowering      defendant’s

applicable guideline range. U.S.S.G. § 1B1.10(a)(2)(B). Defendant

Jules    satisfies   all    of       these   eligibility       requirements        and    a

reduction in the term of imprisonment would be consistent with the

Sentencing Guidelines policy statement.


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       United States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003).

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     While defendant is eligible for a reduction in the term of

imprisonment and such a reduction is not excluded by the Sentencing

Guidelines policy statement, the court must make two distinct

determinations before deciding whether and to what extent to reduce

a defendant’s term of imprisonment under § 3582(c)(2).            First, the

court must recalculate the sentence under the amended guidelines.

The court is required to determine the amended guideline range that

would   have   been   applicable    to   defendant    if    the   applicable

retroactive amendment had been in effect at the time defendant was

sentenced. U.S.S.G. § 1B1.10(b)(1). In making this determination,

the court “shall substitute only” the retroactive amendment for the

corresponding    guideline    provisions     there   were    applied    when

defendant was sentenced, and “shall leave all other guideline

application decisions unaffected.”        U.S.S.G. § 1B1.10(b)(1).       The

Court uses that new base level to determine what ultimate sentence

it would have imposed.     United States v. Bravo, 203 F.3d 778, 780

(11th Cir. 2000); United States v. Vautier, 144 F.3d 756, 760 (11th

Cir. 1998), cert. denied, 525 U.S. 1113 (1999).

     The second step is to decide whether, in its discretion, the

court will elect to impose the newly calculated sentence under the

amended guidelines or retain the original sentence.               Bravo, 203

F.3d at 781.     In making this decision, the court considers the

factors listed in § 3553(a) to the extent consistent with the

Sentencing Guidelines policy statement.         Bravo, 203 F.3d at 781;

Vautier, 144 F.3d at 760.     The Court must also consider the nature

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and seriousness of the danger to any person or the community that

may be posed by a reduction in defendant’s term of imprisonment,

U.S.S.G. § 1B1.10 cmt. n.1(b)(ii), and may consider post-sentencing

conduct of defendant occurring after the imposition of the original

term of imprisonment, Application Note 1(b)(iii).            While the two

steps are required, the court is not required to reduce defendant’s

sentence because that determination is discretionary. Vautier, 144

F.3d at 760; United States v. Cothran, 106 F.3d 1560, 1562 (11th

Cir. 1997); United States v. Vazquez, 53 F.3d 1216, 122728 (11th

Cir. 1995).

                                    II.

     At   the   original    sentence,     the    Court    determined     that

defendant’s Base Offense Level was 32, his Total Offense Level was

29, his Criminal History Category was VI, and the Sentencing

Guidelines range was 151 to 188 months imprisonment.         Defendant was

sentenced to 151 months imprisonment. The application of Amendment

706 results in a Base Offense Level of 30, a Total Offense Level of

27, a Criminal History Category of VI, and a Sentencing Guidelines

range of 130 to 162 months imprisonment.            The Probation Office

reports that defendant has completed his GED and is enrolled in

several post-secondary education courses, that he has been cited

for four minor incidents resulting in some disciplinary segregation

sanctions but otherwise has not had any public safety associated

disciplinary    actions.      Therefore,    in    the    exercise   of   its



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discretion, the Court will apply the Amendment 706 reduction to

defendant, and will impose a sentence at the low end of the newly

calculated Sentencing Guidelines range.

     Defendant also     suggests that the Court should take this

opportunity to further reduce the sentence pursuant to United

States v. Booker, 543 U.S. 220 (2005) and Kimbrough v. United

States, 128 S. Ct. 558 (2007).           The Court declines to do so.

Proceedings under § 3582(c) and § 1B1.10 “do not constitute a full

resentencing of the defendant,”       U.S.S.G. § 1B1.10(a)(3), or a de

novo resentencing.     United States v. Moreno, 421 F.3d 1217, 1220

(11th Cir. 2005), cert. denied, 547 U.S. 1050 (2006); Bravo, 203

F.3d at 781; Cothran, 106 F.3d at 1562.          The Court does not re-

examine the other sentencing determinations made at the original

sentencing.   Cothran, 106 F.3d at 1562-63; Bravo, 203 F.3d at 781.

Additionally, the Eleventh Circuit has already stated that “Booker

is inapplicable to § 3582(c)(2) motions.”           Moreno, 421 F.3d at

1220.

     Accordingly, it is now

     ORDERED AND ADJUDGED:

     1.    Defendant Gerard Jules’ pro se Motion for Modification of

Sentence Pursuant to 18 U.S.C. § 3582(c)(2) (Doc. #67 is GRANTED as

set forth below.

     2.    The Clerk of the Court shall enter an Amended Judgment

reducing the sentence imposed to 130 months imprisonment, and


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otherwise   leaving   all   other    components    of   the   sentence       as

originally imposed.      This order is subject to the prohibition

contained within U.S.S.G. § 1B1.10(b)(2)(c) which provides that

“[i]n no event may the reduced term of imprisonment be less than

the term of imprisonment the defendant has already served.”.

     DONE AND ORDERED at Fort Myers, Florida, this            17th   day of

April, 2008.




Copies:
AUSA Barclift
Gerard Jules
U.S. Probation
U.S. Marshal




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